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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

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 CRYSTALLEX INTERNATIONAL CORP.,                              )
                                                              )
                   Plaintiff,                                 )
                                                              )
          v.                                                  )   Misc. No. 17-151-LPS
                                                              )
 BOLIVARIAN REPUBLIC OF VENEZUELA, )
                                                              )
                   Defendant.                                 )
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                    NOTICE OF SPECIAL MASTER’S RECOMMENDATION

          PLEASE TAKE NOTICE THAT, Robert B. Pincus, solely in his capacity as special

 master (the “Special Master”) for the United States District Court for the District of Delaware

 (the “Court”) in Crystallex International Corp. v. Bolivarian Republic of Venezuela (D. Del. Case.

 No. 17-151-LPS), and with the assistance of his advisors and in consultation with the Sale Process

 Parties,1 has selected Amber Energy Inc. (the “Buyer”), an affiliate of Elliott Investment

 Management L.P., as the Successful Bidder pursuant to the Sale Procedures Order. The Special

 Master respectfully submits this Notice of Special Master’s Recommendation (this “Notice”)

 recommending to the Court approval of the Buyer’s purchase of all of the PDVH Shares pursuant

 to the terms and conditions set forth in the proposed executed Stock Purchase Agreement attached

 hereto as Exhibit A (the “Proposed Purchase Agreement” and the transactions contemplated

 thereby, the “Proposed Sale Transaction”).


 1
     All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to
     such terms in the Sixth Revised Proposed Order (A) Establishing Sale and Bidding Procedures,
     (B) Approving Special Master’s Report and Recommendation Regarding Proposed Sale
     Procedures Order, (C) Affirming Retention of Evercore as Investment Banker by Special Master
     and (D) Regarding Related Matters [D.I. 481] (the “Sale Procedures Order”) or the Purchase
     Agreement, as applicable.
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          PLEASE TAKE FURTHER NOTICE THAT, certain terms of the Proposed Purchase

 Agreement include:2

                    i.   Purchase Price. The purchase price for the PDVH Shares is equivalent to a
                         total CITGO enterprise value of up to approximately $7.286 billion, subject
                         to material assumptions and adjustments pursuant to the Proposed Purchase
                         Agreement, which terms are redacted in the attached Proposed Purchase
                         Agreement but will be available upon the commencement of the Topping
                         Period and the Special Master’s filing of his final recommendation of the
                         Proposed Sale Transaction, as described below (the “Final
                         Recommendation”).

                   ii.   Purchase Price Escrow. Cash consideration paid by the Buyer at closing of
                         the Proposed Sale Transaction will be placed into escrow accounts in
                         accordance with the Trust Structure Term Sheet attached as Exhibit A to the
                         Proposed Purchase Agreement. The release of the escrowed proceeds will
                         be subject to conditions including, among other things, resolution of
                         Ascertained Alter Ego Claims and the CITGO Holding Pledge (each as
                         defined in the Trust Structure Term Sheet).

                  iii.   Injunction Termination Right. In the event the Court denies the relief
                         sought in the Special Master’s Motion to Enjoin the Alter Ego Claimants
                         from Enforcing Claims Against the Republic or PDVSA by Collecting from
                         PDVH or its Subsidiaries in Other Forums [D.I. 1248] (the “Alter Ego
                         Motion”), the Buyer may elect to terminate the Proposed Purchase
                         Agreement (the “Injunction Termination Right”).

                  iv.    Superior Proposals. From the date of execution of the Proposed Purchase
                         Agreement until the date on which the Special Master files the Final
                         Recommendation, the Special Master subject to a non-solicitation and non-
                         discussion provision and is not permitted to consider any alternative
                         proposals to purchase the PDVH Shares. If, following the Court’s decision
                         with respect to the Alter Ego Motion, and pursuant to the terms of the
                         Proposed Purchase Agreement, the Special Master and the Buyer amend the
                         Proposed Purchase Agreement and the Special Master files the Final
                         Recommendation of the Proposed Sale Transaction, as amended, the 45-day
                         period during which the Special Master may consider alternative proposals
                         (the “Topping Period”) will commence during which the Special Master
                         will be permitted to consider alternative proposals, subject to the limitations
                         set forth in the Proposed Purchase Agreement.



 2
     To the extent of any inconsistency between this Notice and the Proposed Purchase Agreement,
     the terms of the Proposed Purchase Agreement shall prevail.


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          In light of the Injunction Termination Right, the Special Master does not believe that a final

 recommendation of the Proposed Sale Transaction is appropriate at this time, nor would it be

 productive given the upcoming October 1, 2024 hearing on the Alter Ego Motion. Therefore, the

 Special Master recommends to the Court that it adopt the following briefing schedule and process

 related to the Proposed Sale Transaction:

                    i.   Notice filed on September 27, 2024

                   ii.   Hearing on Alter Ego Motion held on October 1, 2024

                  iii.   If the Court grants the relief requested in the Alter Ego Motion, the Special
                         Master and the Buyer will work in good faith to make any amendments to
                         the Proposed Purchase Agreement as are necessary to reflect the Court’s
                         ruling and, within three (3) business days after the execution of such
                         amendments—i.e., the Trust Structure Effective Date (as defined in the
                         Proposed Purchase Agreement, which itself must occur by the later of
                         October 25, 2024 and ten (10) business days following entry of the Court’s
                         order—the Special Master will file the Final Recommendation. The Final
                         Recommendation will include (i) an amended Proposed Purchase
                         Agreement, (ii) final Trust Documentation (as defined in the Trust Structure
                         Term Sheet), and (iii) a proposed form of Sale Order.3

                   iv.   The deadline for objections to the Proposed Sale Transaction, and all other
                         briefing deadlines provided in the Court’s Oral Order [D.I. 1283] entered
                         on September 20, 2024 will be based on the date of filing of the Final
                         Recommendation.

                   v.    The Topping Period pursuant to the Proposed Purchase Agreement shall
                         commence on the date of the filing of the Final Recommendation.

                   vi.   The Sale Hearing shall be scheduled based on the briefing schedule
                         described in clause (iv) above.




 3
     Pursuant to the Sale Procedures Order, within seven (7) days after the filing of the Final
     Recommendation, the Special Master will file a report under seal (and serve a copy to the Sale
     Process Parties) that provides a summary of the Bids, including their cash and non-cash
     consideration components. Sale Procedures Order ¶ 13.


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        The Special Master is pleased to be able to notify the Court and the parties-in-interest of

 this milestone and will be prepared to present further information regarding the Proposed Sale

 Transaction to the Court during the October 1, 2024 hearing related to the Alter Ego Motion.



                                             /s/ Robert B. Pincus
                                             Robert B. Pincus
                                             Special Master for the United States District Court
                                             for the District of Delaware




                                                 Respectfully submitted,

                                                 POTTER ANDERSON & CORROON LLP
 OF COUNSEL:
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                                                 Counsel for Special Master Robert B. Pincus

 Dated: September 27, 2024




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